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 1    DONALD C. GISH, ESQ
      P.O. Box 51174
 2    Sparks, NV 89435
      (775) 626-4428
 3
      Attorney for Defendant
 4
 5
 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8
 9    UNITED STATES OF AMERICA,                          3: 11 CR–0080-LRH - (VPC)
10                          Plaintiff,                    MOTION TO VACATE DETENTION
      v.                                                        HEARING
11
      ROMAN “JAIME” ALVARADO
12                      Defendant.
      _____________________________/
13
14           ROMAN ALVARADO, by and through his counsel, Donald C. Gish, hereby moves the
15    Court to Vacate the Detention Hearing scheduled for July 6, 2011, 3:00 p.m. before Magistrate
16    Judge Robert McQuade. This motion is necessary in order to conserve Judicial resources.
17                Pretrial Services has advised counsel that I.C.E. has now placed a hold on Mr.
18    Alvarado which will prevent his release from custody in this case. It is therefor requested that
19    the Detention Hearing be Vacated.
20
21
22           DATED this 6th day of July, 2011.
23
24                                                         ___/s/_____________________
25                                                         DONALD C. GISH
26                                                         Counsel for Roman Alvarado
27
28

                               July 6, 2011
     Case
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 1                                     CERTIFICATE OF SERVICE
 2
 3            Pursuant to FRCP 49 (a), I hereby certify that on the 6th day of July, 2011, I served the
 4    foregoing MOTION TO VACATE DETENTION HEARING by e-mail delivering a copy
 5    thereof to the office of:
 6            James Kelly
              Assistant United States Attorney
 7            100 W. Liberty Street, Ste. 600
              Reno, NV 89501
 8
              U.S. Probation Officer
 9            400 S. Virginia Street, ste.103
              Reno, NV 89501
10
11                                                          _/s/______________________
                                                             DONALD C. GISH
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